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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   THEODORE SANTIAGO,                                     CASE NO. C20-1133-JCC
10                              Plaintiff,                  ORDER
11          v.

12   ISRAEL JACQUEZ, et al.,

13                              Defendants.
14

15          This matter comes before the Court on the Report and Recommendation of the Honorable
16   Mary Alice Theiler, United States Magistrate Judge (Dkt. No. 6). The Court, having reviewed
17   Plaintiff’s civil rights complaint, the Report and Recommendation of Mary Alice Theiler, United
18   States Magistrate Judge, and the remaining record, does hereby find and ORDER:
19          (1)      The Court ADOPTS the Report and Recommendation;
20          (2)      Plaintiff’s complaint is DISMISSED without prejudice; and
21          (3)      The Clerk is DIRECTED to send copies of this Order to Plaintiff and to the
22                   Honorable Mary Alice Theiler.
23   //
24   //
25   //
26   //


     ORDER
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              Case 2:20-cv-01133-JCC Document 7 Filed 11/04/20 Page 2 of 2




 1          DATED this 4th day of November 2020.




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                                                   John C. Coughenour
 5                                                 UNITED STATES DISTRICT JUDGE
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